
721 S.E.2d 930 (2011)
365 N.C. 90
STATE of North Carolina
v.
Jeremy Douglas EDWARDS.
No. 496PA10.
Supreme Court of North Carolina.
March 10, 2011.
Rudolph A. Ashton, III, New Bern, for Edwards, Jeremy Douglas.
E. Burke Haywood, Special Deputy Attorney General, for State of North Carolina.
Kirby H. Smith, III, New Bern.
J. Douglas Henderson, District Attorney.

ORDER
Upon consideration of the petition filed on the 23rd of November 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. § 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 10th of March 2011."
